              Case: 2:22-cr-00019-JLG Doc #: 146 Filed: 04/24/23 Page: 1 of 7 PAGEID #: 770

AO 245B (Rev. 09/19) Judgmentin a Criminal Case
                      Sheet 1




                                         UNITED STATES DISTRICT COURT
                                                             Southern District of Ohio

             UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                 V.


                                                                                  Case Number: 2:22-cr-019-2
                     Jonathan Alien Frost
                                                                                  USM Number: 87771-509

                                                                                   Samuel H. Shamansky, Esq.
                                                                                  Defendant's Attorney
THE DEFENDANT:
gl pleaded guilty to count(s)         1 of the Information
D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                 Nature of Offense                                                             Offense Ended         Count

18U. S. C. §§2339A(a),           Conspiracy to Provide Material Support to Terriorists                        3/31/2020

2332b(g)(5)(B), and
3583(j)

       The defendant is sentenced as provided in pages 2 through                          ofthisjudgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

[]Count(s)                                               D is      D are dismissed on the motion of the United States.

        It is ordered thatthe defendant must notify the United States attorney for this district within 30 days ofanyjihange ofname, residence,
ormailing address until all fines, restitution, costs, andspecial assessments imposed bythisjudgment arefully paid.' Ifordered to pay restitution,
the defendant must notify the court and United States attorney of material ch'anges in economic circumstances.

                                                                                                             4/21/2023
                                                                         DateofImpositionofJudgment


                                                                                                         s/James L. Graham
                                                                         Signature of Judge




                                                                                     James L. Graham, United States District Judge
                                                                         Name and Title of Judge


                                                                                                             4/24/2023
                                                                         Date
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AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                    Judgment - Page          of
 DEFENDANT: Jonathan Alien Frost
 CASE NUMBER: 2:22-cr-019-2

                                                           IMPRISONMENT

          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:
 Sixty (60) Months.




      ^ The court makes the following recommendations to the Bureau ofPrisons:
           That the defendant participate in a treatment program to address his mental health.
           That the defendant participate in vocational training programs.
           That the defendant not be assigned to a BOP facility with known white supremacist gang activity.
           That the defendant be assigned to FCI Bastrop.

      0 The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:

          D at                                   D a. m.     D p. m.      on

          D as notified by the United States Marshal,

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D before 2 p. m. on

          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN

I have executed this judgment as follows:




          Defendant delivered on                                                        to

at                                                , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL



                                                                        By
                                                                                              DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 3 - Supervised Release
                                                                                                            Judgment-Page     of
DEFENDANT:              Jonathan Alien Frost
CASE NUMBER; 2:22-cr-019-2
                                                          SUPERVISEDRELEASE

Upon release from imprisonment, you will be on supervised release for a term of:

 Thirty (30) years.




                                                       MANDATORYCONDITIONS
1.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               ^1 The abovedrugtesting condition is suspended, basedonthe court's determination thatyou
                   pose a low risk of future substance abuse, (check ifapplicable)
4.       D You must make restitution in accordance with 18 U. S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution, (checkif applicable)
5.       [^ You must cooperate in the collection ofDNA as directed by the probation officer. (checkifapplicable)
6.       d Youmust comply withthe requirements ofthe SexOffenderRegistration andNotification Act (34U. S.C. § 20901, el seq.) as
            directed by the probation officer, the BureauofPrisons, or anystate sexoffenderregistration agency in the location whereyou
            reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.       D You must participate in an approved program for domestic violence, (checkifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
              Case: 2:22-cr-00019-JLG Doc #: 146 Filed: 04/24/23 Page: 4 of 7 PAGEID #: 773

AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                               Judgment-Page                  of
DEFENDANT; Jonathan Alien Frost
CASE NUMBER: 2:22-cr-019-2

                                       STANDARD CONDITIONS OF SUPERVISION
As part ofyour supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
     frame.
2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
4.   You must answer truthfully the questions asked by your probation officer,
5.   You must live at a place approved by the probation officer. Ifyou plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware of a change or expected change.
6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware of a change or expected change.
8.   You must not communicate or interact with someone you know is engaged in criminal activity. Ifyou know someone has been
     convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission ofthe
     probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i. e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or lasers).
11. You must not actor make any agreementwith a law enforcement agencyto act as a confidential human source or informant without
     first getting the permission of the court.
12. Ifthe probationofficer determines thatyou pose a riskto anotherperson (including anorganization), the probation officer may
    requireyouto notiiy the person aboutthe risk andyou must comply withthat instruction. The probation officermay contactthe
    person and confirm that you have notified the person about the risk.
13. You must follow the instructions ofthe probation officer related to the conditions of supervision.



U. S. Probation Office Use Only
 A U. S. probation officerhas instructed me onthe conditions specifiedby the court andhasprovided me with a written copy ofthis
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation andSupervised
Release Conditions, available at: www. uscourts. ov.



Defendant's Signature                                                                                     Date
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AO 245B (Rev. 09/19) Judgmentin a Criminal Case
                      Sheet 3D - Supervised Release
                                                                                             Judgment-Page          of
DEFENDANT: Jonathan Alien Frost
CASE NUMBER: 2:22-cr-019-2

                                        SPECIALCONDITIONSOF SUPERVISION
 1. The defendant shall comply with the requirements of the Computer and Internet Monitoring Program as administered by
 the U. S. Probation Office. The defendant shall consent to the installation of computer monitoring software on all identified
 computers and devices capable of accessing the internet to which the defendant has access. The defendant will seek prior
 approval from the U. S. Probation Office before acquiring any new devices to ensure that the device is compatible with the
 monitoring program. The software may restrict and/or record all activity on the computer/device, including the capture of
 keystrokes, application information, internet use history, email correspondence, and chat conversations. A notice will be
 placed on the computer/device as the time of Installation to warn others of the existence of the monitoring software. The
 defendant shall not remove, tamper with, reverse engineer, or in any way circumvent the software, to include the use of
 any services designed to disguise, mask, or anonymize the defendant's online activity.

 2. The defendant shall refrain from knowingly meeting or communicating with any person whom the defendant knows to be
 engaged, or planning to be engaged, in criminal activity and any persons who are or claim to be, involved with violent acts,
 or advocating for acts of violence.

 3. The defendant shall not engage in the use of online encrypted communications platforms, or any online communication
 platform, that cannot be monitored by the U. S. Probation Office, absent prior approval by the U. S. Probation Office.

 4. To the extent the defendant is relieved of his obligations under the Computer and Internet Monitoring Program at any
 point during the supervised release, the defendant must provide notice to the U. S. Probation Office within 24 hours of
 opening any new online or communication accounts, including email, social media, instant messaging, electronic
 communications, chat accounts or services, or other accounts that allow the defendant to communicate through electronic
 devices or online. The defendant further agrees that his information can be shared with the U. S. Attorney's Office.

 5. The defendant shall consult with the U. S. Probation Office or petition the Court if he does not know, cannot determine,
 or has any questions about whether an online site, service or application is approved for him to access or use (directly or
 indirectly).

 6. As part ofthe Computer and Internet Monitoring Program, the defendant shall allow U. S. Probation Officers to search
 without a warrant and without cause (including but not limited to a forensic examination) and capture evidence of violations
 from any communication device (telephones. tablets, computers, or devices with internet access or communication
 capabilities) email accounts, social media accounts, Instant messaging accounts, or electronic communication accounts
 within the possession, custody, or control ofthe defendant up to four times per month between 6:00am and 10:00pmfor
 the duration of the period of supervised release.

 7. The defendant shall attend violent extremism counseling from providers directed by the U. S. Probation Office, and
 agreed to by the U. S. Probation Office, the U. S. Attorney's Office for the Southern District of Ohio, and the defendant. The
 defendant shall also authorize the release of any mental health and/or violent extremism counseling records to the U. S.
 Probation Office, the U. S. Attorney's Office for the Southern District of Ohio, and the Federal Bureau of Investigation's
 Behavioral Analysis Unit.

 8. The defendant shall participate in a mental health treatment program, which may include the use of prescription
 medicines.

 9. The defendant shall be required to maintain employment.

 10. The defendant shall perform 500 hours of community service throughout the first five years of supervised release as
 directed by the U. S. Probation Office.

 11. The defendant shall be required to submit to periodic polygraph testing at the direction of the U. S. Probation Office as
 a means to ensure that he is in compliance with the requirements of his supervision and/or treatment program.

 12. The defendant shall not view and/or possess physical or electronic materials that reflect extremist or terroristic views,
 such as racially motivated violent extremism material.
 13. The defendant shall not seek modification of the conditions related to the U. S. Probation Office's search authority and
 the Computer and Internet Monitoring Program for at least the first 120 months of his term of supervised release.
              Case: 2:22-cr-00019-JLG Doc #: 146 Filed: 04/24/23 Page: 6 of 7 PAGEID #: 775
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                         Judgment - Page              of
 DEFENDANT: Jonathan Alien Frost
 CASE NUMBER: 2:22-cr-019-2
                                                CRIMINAL MONETARY PENALTIES

      The defendantmust pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment             Restitution                  Fine                  AVAA Assessment*            JVTA Assessment**
TOTALS            $ 100. 00                 $ 0. 00                      S 0. 00               $ 0. 00                        0. 00



 D    The determination of restitution is deferred until                           An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination,

 D The defendantmust make restitution (including community restitution) to the following payees in the amount listed below.

     Ifthe defendant makes a panial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
                                                            However, pursuant to ISTJ.S.C. § 3664(~i),'all nonfederal victims must be paid
     the priority order or percentage payment column below. However,
      before the'United States is pa^td.

Name of Pa ee                                                    Total Loss***                 Restitution Ordered         Priorit or Percenta e




TOTALS                                                           0. 00                                   0. 00



 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendantmust pay interest on restitution and a fine ofmore than $2, 500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18U. S. C. §3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U. S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that;

       D the interest requirement is waived for the              D fine       D restitution.
       d the interest requirement for the           D     fine    D restitution is modified as follows:

 . Amv, Vickv. and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 .
   * Justice for Victims ofTraffickingActbf2015, Pub. L. No. 114-22. , ,         _. . __. . _. . _.                            ".
 ***Fmding-s for the tota] amount onossesare^reqmred under Chapte^^ 109A, 110, 110A, and 113A ofTide 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
              Case: 2:22-cr-00019-JLG Doc #: 146 Filed: 04/24/23 Page: 7 of 7 PAGEID #: 776
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6- Schedule of Payments

                                                                                                                  Judgment - Page              of
 DEFENDANT: Jonathan Alien Frost
 CASE NUMBER; 2:22-cr-019-2

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows:
 A    ^     Lump sum payment of $         100. 00                  due immediately, balance due

            D     not later than                                       , or
            []    in accordance with DC,               D   D,      D   E, or      D F below; or

      D Payment to begin immediately (may be combined with                     DC,          D D, or       D F below); or

      D     Payment in equal                          (e. g., weekly, monthly, quarterly) installments of $                   over a period of
                           (e. g., months or years), to commence                         (e. g., 30 or 60 days) after the date of this judgment; or

      D Payment in equal                       (e. g., weekly, monthly, quarterly) installments of $                 over a period of
                     (e.g., months or years), to commence                         (e. g., 30or 60days) after release from imprisonment to a
            term of supervision; or

 E    D Payment during the term of supervised release will commence within 60             (e. g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment ofthe defendant's ability to pay at that time; or

 F    D     Special instructions regarding the payment of criminal monetary penalties:
             While incarcerated, if the defendant is working in a non-UNICOR or grade 5 UNICORjob,
             defendant shall pay $25. 00 per quarter toward defendant's restitution obligation. If working in a
             grade 1-4 UNICOR job, defendant shall pay 50% of defendant's monthly pay toward the
             defendant's restitution obligation. Any change In this schedule shall be made only by order of this
             Court.

 Unless the court has expressly ordered otherwise, if thisjudgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously madetoward any criminal monetary penalties imposed.



 D    Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                        Joint and Several                 Corresponding Payee,
      (including defendant number)                              Total Amount                       Amount                           if appropriate




 D    The defendant shall pay the cost of prosecution.

 a    The defendant shall pay the following court cost(s):

 0    The defendant shall forfeit the defendant's interest in the following property to the United States:
      The items listed in Forfeiture Allegation B of the Information and shall abandon any interest in the items listed in
      Forfeiture Allegation A.

Payments shall beapplied inthe foltowingorder: (1) assessment, (2)_restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (?) fine interest, (7) community restitution, (8) jVTA assessment, (3) penalties, and (10) costs, including cost of
 prosecution arid court costs.
